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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA



8:05CR167 USA v. Juan Figueroa-Valdez and Grady Vaughn
8:05CR173 USA v. Clint Ingalls and Michael Jackson
8:05CR190 USA v. Troy Vannortwick, et al.



                        REASSIGNMENT ORDER - RELATED CASES

       IT IS ORDERED that, in the interest of judicial economy, the above cases are

reassigned to Magistrate Judge F.A. Gossett, III for judicial supervision and processing of

all pretrial matters.

       DATED this 26th day of April, 2005.

                                          BY THE COURT:



                                          s/Joseph F. Bataillon
                                          JOSEPH F. BATAILLON
                                          UNITED STATES DISTRICT JUDGE
